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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


DEBORAH LAUFER,

                 Plaintiff,                                      Gase No. 3:20-cv-00448-VAB
v

441 POST ROAD LLC,

                 Defendant.

                                                                JULY 7,2020


    (GoRRECTED) MEMORANDUM OF LAW tN SUPPORT OF MOTTON TO D|SM|SS
          PURSUANT TO FEDERAL RULE OF CtVtL PROCEDURE 12(bX1)1

        The Defendant,441 Post Road LLC, hereby submits this Memorandum of Law in

support of its Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(bX1).

t.      FACTS2

        The Plaintiff is a resident of Florida and claims to qualify as a disabled person

undertheAmericanswith Disabilities Act,42 U.S.C. S 12181 etseq. ("ADA'). (First

Amended Complaint, fl 1.) The present case appears to be one of over 200 similar

lawsuits brought by the Plaintiff in no fewer than fourteen districts, including eleven of

which are currently pending in the District of Connecticut. See excerpt of PACER

search results attached hereto as Exhibit          A. The Plaintiff    is seeking, and is limited to

under the ADA, the remedies of injunctive relief, attorney's fees and costs.


1The Defendant has filed this corrected Memorandum in order to correct references to the Complaint to
be to the FirstAmended Complaint (ECF No. 18). This corrected Memorandum supersedes ECF No. 20

2 For the purposes of the Motion to Dismiss and this Memorandum of Law the Defendant refers to the
facts as alleged by the Plaintiff, but does not concede that the Plaintiff's allegations are accurate and
denies that her claim has any merit.
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       The Defendant owns a hotel located at417 Post Road, Fairfield, Connecticut

known as the Circle Hotel Fairfield (the "Hotel"). (First Amended Complaint, fl 3.) The

Plaintiff claims that the Defendant has discriminated against her by operating websites

which allegedly fail to conform with the requirements of 28 C.F.R. S 36.302(eX1). (First

Amended Complaint, 1|fl 9, 10, 13). Specifically, the Plaintiff claims that several

websites, including those located at travel sites such as expedia.com, hotels.com and

priceline.com, fail to include sufficient information as to whether the rooms or features at

the Hotel are accessible. (First Amended Complaint,     11   10).

       The Plaintiff does not allege to have ever visited the Hotel or even the State of

Connecticut. lnstead, the Plaintiff claims to be an advocate for the disabled and     a

"tester" for the purposes of asserting her civil rights and monitoring and ensuring that

places of public accommodation and their websites comply with the ADA. (First

Amended Complaint,I12.) The Plaintiff alleges that at some unspecified time she

"intends to revisit the Defendant's websites and/or online reservation system in order to

test them for compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the websites

to reserve a guest room and othenrvise avail herself of the goods, services, features,

benefits, advantages, and accommodations of the Property." (First Amended

Complaint,   fl 1 1). The First Amended Complaint does not contain any other allegations
concerning the Plaintiff's future plans with respect to visiting the Hotel or Connecticut.



II.    ARGUMENT

       A.      The Plaintiff's First Amended Complaint Should be Dismissed Under
               Federal Rule of Givil Procedu 12(bll1) for Lack of Standino


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               1.     Leqal Standard Under Rule 12(bX1).

       A motion to dismiss for lack of standing is made pursuant to Rule 12(b)(1). O &

G lndus., lnc. v. Aon Risk Services Ne., lnc., 922 F. Su pp.2d 257,262 (D. Conn. 2013)

ln deciding a motion to dismiss, standing cannot be inferred argumentatively from

averments in the pleadings, but rather must affirmatively appear in the record. Spencer

v. Kemna , 523 U.S, 1 , 11, 118 S.Ct. 978, 140 L.Ed.2d 43 (1998). A case is properly

dismissed for lack of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1) when the

district court lacks the statutory or constitutional power to adjudicate   it.   Makarova v.

United States, 201 F.3d 110 , 113 (2d Cir. 2000). ln assessing a motion to dismiss for

lack of subject matter jurisdiction, the court "accept[s] as true all material factual

allegations in the complaint." Shippinq Fin. Serv. Corp. v. Drakos, 140 F.3d 129, 131

(2d Cir. 1998). The court, however, refrains from "drawing from the pleadings inferences

favorable to the party asserting [jurisdiction]."   ld. On a motion to dismiss pursuant to
Rule 12(bX1), the plaintiff bears the burden of establishing that the court has subject

matter jurisdiction over the complaint. Makarova, 201 F.3d at 'l 13.

               2.     The Plaintiff Does Not Have Standinq to Brinq This Claim.

       The ADA provides that "[n]o individual shall be discriminated against on the basis

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of any place of public accommodation by any person

who owns, leases (or leases to), or operates a place of public accommodation." 42

U.S.C. S 12182(a). Title lll of the ADA offers limited remedies to private litigants. The

only remedy available to a private plaintiff under Title lll of the ADA (other than

attorney's fees) is injunctive relief to prevent ongoing discrimination. See Fiorica v.


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Universitv of Rochester, School of Nursing, No. 07-CV-6232T,2008 WL 907371, at*2

(W.D.N.Y. March 31, 2008).

       The Plaintiff alleges that the Defendant has discriminated against her by

operating websites which fail to conform with the requirements of 28 C.F.R.      S


36.302(e)(1). (First Amended Complaint, fll|7, 9, 10, 13). This regulation, promulgated

under the ADA, provides that hotels must "[i]dentify and describe accessible features in

the hotels and guest rooms offered through its reservations service in enough detail to

reasonably permit individuals with disabilities to assess independently whether a given

hotel or guest room meets his or her accessibility needs." 28 C.F.R. S 36.302(exlXii).

The Plaintiff claims that severalwebsites fail to include sufficient information as to

whether the rooms or features at the Hotel are accessible. (First Amended Complaint, fl

10).

       The Plaintiff does not have standing to pursue this claim. ln order to establish

standing pursuant to Article lll of the U.S. Constitution, a plaintiff must show (1) an injury

in fact which is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical, (2) a causal connection between the injury and the conduct

complained of and (3) it is likely, as opposed to merely speculative that the injury will be

redressed by a favorable decision. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-

61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992).

       For an injury to be particularized, it must affect the plaintiff in a personal and

individual way. ld. at 560, n.1. To be "concrete" an injury "must actually exist"; the injury

must be "real" and not "abstract." Spokeo, lnc. v. Robins, 136 S.Ct. 15ri0, 1548, 194

L.Ed.2d 635 (2016). Spokeo, the leading relevant case, holds that "even in the context

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of a statutory violatioh," "? bare procedural violation, divorced from any concrete

harm," does not satisfy the injury-in-fact requirement of Article lll. ld. at 1549-50

(emphasis added) (holding that the plaintiff cculd not satisfy the demands of Arlicle lll

by simply alleging that consumer reporting agency disseminated information in violation

of the Fair Credit Reporting Act of 1970: "[a] violation of" a "procedural requirement[          ]

may result in no harm" and not all "inaccuracies cause harm or present any material risk

of harm"). A "risk of real harm" may satisfy the requirement of concreteness. ld. at

1549-50 (noting statutes where the violation of a procedural right would be sufficient

because Congress identified harms sufficient to constitute injury in fact). Thus, "the

critical question for standing purposes is 'whether the particular ... violations alleged

entail a degree of risk sufficient to meet the concreteness requirement.' " Crupar-

Weinmann v. Paris Baquette Am., lnc.. 861 F.3d 76, 80 (2d Cir. 2017) (emphasis              in

original) (quoting Spokeo, 136 S. Ct. at 1550)

        "A plaintiff seeking injunctive or declaratory relief cannot rely on past injury to

satisfy the injury requirement but must show a likelihood that he or she will be injured in

the future." Deshawn E. ex rel. Charlotte E. v. Safir, 156 F.3d 340, 344 (2d Cir. 1998)

ln addition, the Second Circuit has recognized that an ADA plaintiff must allege the

following: (1) past injury under the ADA; (2) that "it is reasonable to infer from [the]

complaint that this discriminatory treatment will continue; and (3) it is also reasonable to

infer, based on the past frequency of [her] visits and the proximity of defendant['s

facilityl to [her] home, that [the plaintiff] intends to return to [this facility] in the

future." Camarillo v. Carrols Corp., 518 F.3d 153, 158 (2d Cir. 2008). Courts have

recognized that an ADA plaintiff must show a "plausible" intent to return to the site of the

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violations. See Access 4 All. lnc. v. G & T Consultino Company. LLC, 2008 WL 851918,

at .4 (S.D.N.Y. 2008). ln order to be plausible, a plaintiff's intent to return to the place of

the purported violation must also be demonstrated with reasonable specificity;

speculative "some day" intentions to return are insufficient. Hartv v. Greenwich Hosp.

Group, LLC, No. 3:11CV1759 (AVC), 2012 WL 12895677 , at*2, aff'd, 536 Fed. Appx.

154 (2d Cu.2013). ln order to determine plausibility, courts have considered, (1) the

proximity of the place of public accommodation to plaintiff's residence, (2) plaintiff's past

patronage of defendant's business, (3) the definitiveness of plaintiff's plans to return,

and (4) the plaintiffs frequency of travel near defendant. ld.

       An application of these factors to the present case demonstrates that the Plaintiff

does not have standing. First, the Plaintiff resides in Florida - nowhere near the vicinity

of the Hotel. Second, the Plaintiff does not allege to have ever visited the Hotel. Third,

the Plaintiff has no definite plans to visit the Hotel. The Plaintiff claims to be a "tester"

and vaguely alleges that at some unspecified time in the future she intends to revisit the

Defendant's websites "and/or utilize the websites" to reserve a room. The Plaintiff does

not provide a time frame for when this might happen and does not provide any reason

why she might be visiting the area, nor could any such allegation be inferred from the

First Amended Complaint. Finally, the Plaintiff has not alleged she has ever visited

Connecticut or has any plans to do so in the future.

       Case law from this district and the Second Circuit supports dismissal. The

Plaintiff in Hartv v. Greenwich Hosp. Group, LLC, No. 3:11CV1759 (AVC),2012 WL

12895677, at *1, aff'd, 536 Fed, Appx. 154 (2d Cr.2013), alleged that on a visit to the

defendant's hotel in Stamford, Connecticut he encountered architectural barriers which

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discriminated against him on the basis of his disability and endangered his safety. The

plaintiff, a Florida resident, further alleged that he used to reside nearby in Nyack, New

York, that he traveled to the area several times a year to visit family and attend gun

shows, that when he travels to New York, he stays in the area, including Stamford, and

that he planned to return to the area in June, 2012. ld. These allegations stand in stark

contrast to the allegations at issue here, where the Plaintiff has made no allegations

concerning any connection to or reason to visit the relevant area. However, even with

these stronger, more specific allegations, the Court of Appeals for the Second Circuit

affirmed the lower court's decision dismissing the case for lack of standing. See Harty

v. Greenwich Hospital Group. LLC,536 Fed.Appx. 154 (Mem) (2d Cir. Oct.28,2013).3

The court found that the plaintiff's complaint did not show any "concrete plan to stay

overnight in Stamford in the future" and that his allegations lacked the specificity

necessary to establish an ongoing injury caused by the defendant's alleged ADA

violations. See id. The court also rejected the plaintiff's assertion that he was an ADA

"tester" as that allegation also lacked the requisite link to Stamford. See id.

        ln addition, in Rizzi v. Hilton Domestic Operatinq Co., lnc. , No. CV-18-1127 (SJF)

(ARL), 2019 WL 5874327, at.1 (E.D.N.Y. July 18,2019), report and recommendation

adopted, No. 18-CV-1127 (SJF) (ARL),2019WL4744209 (E.D.N.Y. Sep.30,2019), a




3 Recently the   court in the Northern District of New York, faced with a slew of cases brought by this
Plaintiff, has (sua sponte) raised the issue of standing with the Plaintiff. Se,, g.-S., Laufer v. Laxmi &
Sons, LLC, No. 1:19-cv-01501 (BKS/ML),2020W12200207, at*1-5(N.D.N.Y. May6,2A2il, Lauferv.
110 Western Albany, LLC, No. 1:19-cv-01324 (BKS/ML),2020 WL 2309083, al*1-2 (N.D.N.Y. May 8,
2020). ln those cases, rather than enter a default against the defendants, the court (citing Harty) has
ordered the Plaintiff to file a brief by June 5, 2020 explaining why the Plaintiff's complaint should not be
dismissed for lack of standing.



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blind plaintiff alleged that he attempted to utilize the defendant's hospitality website to

make reservations and to learn about the services and products available, but that the

website was incompatible with screen reading software. The court granted the

defendant's motion to dismiss for lack of subject matter jurisdiction in part because the

plaintiff did not allege facts relating to his interest in obtaining the defendant's services

nor alleged any visits to the defendant's hotels. See id.   at*4. The court concluded that
the plaintiff failed to plead facts sufficient to show that he suffered a concrete and

particularized injury in fact under the ADA. ld. at *6; see also Mendez v. Apple lnc., No.

18 CIV 7550 (LAP), 2019 WL 2611168 (S.D.N.Y. Mar. 28, 2019) (finding that the

plaintiff lacked standing despite allegations that Apple's website was inaccessible

because, among other things, she failed to allege what good or service she was

prevented from purchasing); Harty v. Nyack Motor Hotel lnc., No. 19-CV-1322 (KMK),

2020 WL 1140783,     at.1 (S.D.N.Y. Mar. 9,2020) (dismissing a similar case under        Rule

12(bXO for failing to state a claim).

       Support for the Defendant's Motion to Dismiss can be found in other jurisdictions

as well. ln Griffin v. Dep't of Labor Fed. CredjlUdqn, 912 F.3d 649 (4th Cir. 2019),

Brintley v. Aeroquip Credit Union, 936 F.3d 489 (6th Cir. 2019), and Carello v. Aurora

Policemen Credit Union, 930 F.3d 830 (7th Cu.2019) seeing impaired plaintiffs,

claiming "tester" status, brought actions against credit unions claiming their websites

were inaccessible in violation of the ADA and alleging, like the Plaintiff, that they would

return to the website to test compliance. The Fourth, Sixth and Seventh Circuit Courts

of Appeals each found that the respective plaintiffs lacked standing because he or she

were not eligible for, and expressed no interest in, joining the defendant credit unions.

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Griffin 912 F.3d at 657; Brintley, 936 F.3d at491,494; Carello, 930 F.3d at832,835-36

This is precisely the situation the Court faces here - a "tester" plaintiff who has no

reason or intention to actually avail herself of the goods and services of the Defendant,

but who merely alleges she intends to revisit the website in the future to test

compliance.

       The court in Hernandez v. Caesars License C                        Civil No. 19-06090

(RBIVKMW),2019 WL 4894501, at *1 (D.N.J. October 4,2019), faced nearly identical

circumstances to the present case. The plaintiff, a resident of Florida and alleged

advocate for full compliance with the ADA, sued the operator of an Atlantic City hotel

and casino claiming that its website violated 28 C.F.R. $ 36.302(e)(1), the same

regulation at issue here. The court found that the defendant's alleged non-disclosure of

accessibility information could conceivably harm a person with disabilities, provided that

person was actually looking for a place to stay in Atlantic City. ld. at   *3.   However, the

plaintiff in that case, like the Plaintiff here, had no interest in staying at the subject hotel

but rather his sole interest in visiting the website was to determine if it complied with the

ADA. See id. at *3. The court also found that, while testers have demonstrated

concrete injuries to support standing in other cases, the plaintiff did not. See id. at*4.

The court differentiated the plaintiff's case from cases in which testers had standing

because the plaintiff did not experience differential treatment nor did he allege he was

considering staying at the hotel. See id. Therefore, the court found plaintiff could not

demonstrate concrete injury and did not have standing. See id.; see also Hernandez v

Caesars License Co.. LLC, No. CV 19-6087, 2019WL6522740, al.2 (D.N.J. Dec. 4,

2019) (considering nearly identical allegations and finding that the plaintiff had "alleged

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only a generalized grievance that is not particular to him, and he therefore has failed to

allege facts sufficient to support Article lll standing").

       Other courts have also found that so-called "testers" did not have standing to

 bring claims underthe ADA. In Norkunas v. Park Road Shoppinq Center, |nc.,777 F.

 Supp. 2d 998, 1005 (W.D. N.C. 2008), the court held that a plaintiff claiming tester

status lacked threat of imminent future harm. "Nor is Plaintiff afforded standing simply

 by way of his status as an ADA 'tester.' An ADA tester does not have standing to sue

 under Title lll in the same way a tester has standing under Title ll of the Civil Rights Act

of 1964, as Plaintiff suggests . . .. lnstead, the law makes clear that a Title lll plaintiff

cannot use her status as a tester to satisfy the standing requirements where she would

 not have standing otherwise." ld. at 1005; see also Brown v. Grand lsland Mall

 Holdinqs. Ltd., No.4:09cv3086,2010 WL489531,aI*4, n.6 (D. Neb. Feb.8,2010)

("While the number of ADA Title lll cases [the plaintiffJ has filed in this court suggests

this allegation is true, [the plaintiff's] 'tester' status does not relieve her of the obligation

to prove in this case that she will return to the [facility] once the alleged barriers to

access are removed"); Judv v. Pinque, No. 2:08-CV-859, 2009 WL 4261389, at *5

(S.D. Ohio Nov. 25,2009) ("Any tester status that [the plaintiftl might possess does not

confer standing to seek prospective relief where he cannot show a reasonable

likelihood of returning to [defendant's] property"). This reasoning is consistent with the

decisions discussed above and reinforces the position that the Plaintiff does not have

standing here. Accordingly, the First Amended Complaint should be dismissed under

Rule 12(b)(1) or, in the alternative, the Defendant requests that the Court allow limited




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discovery on the issue of standing and then schedule a hearing on the matter before

further litigation.

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       For the foregoing reasons, the Defendant respectfully requests that the Plaintiff's

FirstAmended Complaint be dismissed under Fed. R. Civ. Proc. 12(b)(1) or, in the

alternative, that limited discovery on standing be permitted and a hearing scheduled

prior to further litigation in this proceeding.

                                             THE DEFENDANT
                                             441 POST ROAD LLC



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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


DEBORAH LAUFER,

              Plaintiff,                                 Gase No. 3:20-cv-00448-VAB
v

441 POST ROAD LLC,

              Defendant.



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day   of Ju|y,2020, a copy of the foregoing

Memorandum of Law was filed electronically and served by mail on anyone unable to

accept electronic filing. Notice of this filing will be sent by e-mail to all parties by

operation of the Court's electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court's CM/ECF System.




                                              Nicholas P. Vegliante




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                       EXHIBIT A
717t2020                                                             PACER Case Locator:
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                                           Party Search Results
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     m        Case Locator
  Search Griteria: Party Search; Jurisdiction Type [Civil]; Last Name: [lauferl; First Name: [deborah]
  Result Count: 335 (7 pages)
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    Party Name               Gase Number               Case Title               Court                     Date Filed   Date Closed
    Laufer, Deborah          3:2020cvO0436             Laufer v. RMS            Connecticut District      03t31t2020
    (pla)                                              Danbury 1 LLC et al      Court
    Laufer, Deborah          3:2020cv00443             Laufer v. 41 80 Black    Connecticut District      04t01t2020
    (pla)                                              Rock LLC                 Court
    Laufe[ Deborah           3:2020cv00445             Laufer v. Lake Avenue    Connecticut District      04t01t2020   07t01/2020
    (pla)                                              Associates lnc           Court
    Laufer, Deborah          3:2020cv0OM6              Laufer v. Southport      Connecticut District      04/01/2020
    (pla)                                              lnvestment LLC           Court
    Laufer, Deborah          3'2020cvOO447             Laufer v. Greenwich      Connecticut District      04t01t2020
    (pla)                                              Harbor (DEL) LLC         Court
    Laufer, Deborah          3:2020cv00448             Lauferv.441 Post         Connecticut District      04t01t2020
    (pla)                                              Road LLC                 Court
    Laufer, Deborah          3:2020cv00804             Laufer v. Fyoti          Connecticut District      06t1012020
    (pla)                                                                       Court
    Laufer, Deborah          3:2020cv00846             Laufer v. Lord Krishna   Connecticut District      06t19t2020
    (pla)                                              LLC et al                Court
    Laufer, Deborah          3:2020cv00861             Laufer v. Stratford      Connecticut Dislrict      06t22t2020
    (pla)                                              Hotel Partners LLC       Court
    Laufer, Deborah          3:2020cv00862             Laufer v. Somnath        Connecticut District      06t22t2020
    (pla)                                              lnc                      Court
    Laufer, Deborah          3:2020cvO0883             Laufer v. Janki          Connecticut District      06t25/2020
    (pla)                                              Shivam Krupa LLC         Court
    LAUFER, DEBORAH          1:2020ot01192             LAUFER v. JETSET         District Of Columbia      05t07t2020
    (pla)                                              HOSPTTALTry LLC          District Court
    TAUFER DEBORAH           1:2020cv01      1   93    LAUFERv. COLUMBIA        District Of Columbia      05/07/2020
    (pla)                                              REALTYVENTURE            District Court
                                                       LLC
    LAUFER DEBORAH           1i2020cv01194             LAUFERv.                 District Of Columbia      05t07t2020
    (pla)                                              GEORGETOWN               District Court
                                                       WASHINGTON DC
                                                       INN LLC

    LAUFER DEBOR,AH          1:2020cv01 508            LAUFER v. 29TH & K       District Of Columbia      06/09t2020
    (pla)                                              ASSOCIATES LP            District Court
                                                       MATTHEWS CO
    LAUFER, DEBORAH          1:2020cv01 531            LAUFERv. HARVEST         District Of Columbia      06t10t2020
    (pla)                                              ADVERTISING              District Court
                                                       AGENCY INC

    Laufer, Deborah          3:201 9cv01 330           Laufer v. off the Dime   Florida Middle District   11121t2019   04102t2020
    (pla)                                              lnc., et al.             Court
    Laufer, Deborah          8:2020cvO061 5            Laufer v. EJRFA LLC      Florida Middle District   0311712020   04110/2020
    (pla)                                                                       Court
    LAUFER DEBORAH           1   :201 9cv001     98    LAUFER v. KRISHNA        Florida Northern          10116t2019   05lo5/2020
    (pla)                                              RNS2005 rNC              District Court
    LAUFER,   DEBOMH         1   :201   9cv00200       LAUFERv. ARAPAN          Florida Northern          10117/2019
    (pla)                                              LLC                      District Court
    LAUFER,   DEBOMH         1   :201 9cv00201         LAUFERv. MSB             Florida Northern          10117t2019   1211012019
    (pla)                                              HOTELS III LLC           District Court
    LAUFER DEBORAH           1:201 9cv00202            LAUFER v.                Florida Northern          10t17t2019   1U30t2019
    (pla)                                              ABJULHUSSEIN et          District Court
                                                       al
    LAUFER, DEBORAH          1:201 9cv00203            LAUFER v. KABIR INC      Florida Northern          10117t2019   't1t27t2019
    (pla)                                              et al                    District Court
    LAUFER DEBORAH           1   :201   9cv00204       LAUFERv. ERSHCO          Florida Northern          10t17t2019
    (pla)                                              LLC                      District Court

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717t2020                                                             PACER Case Locator: Search Results
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     Party Name              Case Number              Gase TIde                 Court                     Date Flled    Date Glosed
     LAUFER DEBORAH          1:201 9cv00205           LAUFERv. KOMq             Florida Nofihern          10t17t2019    01t10t2020
     (pla)                                            tNc.                      District Court
     LAUFER, DEBORAH         1:201 9cv00206           LAUFERv. OM     MM        Florida Northern          1011712019    11t20t2019
     (pla)                                            OM LLC et al              District Court
     LAUFER DEBORAH          1:2019cvOO2O7            LAUFER v. OFF THE         Florida Northern          10/17t2019    1112012019
     (pla)                                            DIME INC et al            District Court
     LAUFER DEBOMH           1:201 9cv00208           LAUFER v. JAI             Florida Northern          10t18/2019    05t04t2020
    (pla)                                             BALAIJI INC               District Court
     LAUFER, DEBORAH         1:201 9cv00209           LAUFERv. KOMO,            Florida Northern          10t18t20't9   11t20t2019
    (pla)                                             tNc.                      District Court
    LAUFER, DEBOMH           1:2019cv00224            LAUFER v. 201             Florida Northern          10127t2019    02t11/2020
    (pla)                                             MIRACLE FWB LLC           District Court
    LAUFER, DEBORAH          1:201 9cvO0225           LAUFER v.JAl              Florida Northern          10t28t2019    01t08/2020
    (dft)                                             GURUDEV, LLC              District Court
    LAUFER DEBORAH           1:201 9cvO0259           LAUFER et al v. B J       Florida Northern          11/12/2019    01t03t2020
    (pla)                                             HOSPITALITY INC           District Court
    LAUFER, DEBORAH          1:201 9cvO0260           LAUFER v.                 Florida Northern          11/1212019
    (pla)                                             BLUEWATER BAY             District Court
                                                      HOTEL GROUP LLC

    LAUFER DEBOMH            1:201 9cv00261           LAUFER v. TAPPER &        Florida Northern          11t12/2019    07t01t2020
    (pla)                                             COMPANY                   District Court
                                                      PROPERTIES
                                                      MANAGEMENT INC et
                                                      al
    LAUFER, DEBORAH          1:201 9cv00263           LAUFER v. BSREP ll        Florida Northern          11t12t2019    04t17/2020
    (pla)                                             WS HOTELTRS SUB           District Court
                                                      LLC et al

    LAUFER DEBORAH           1:201 9cvO0264           LAUFERv. HARIAUM          Florida Northern          11t12t2019
    (pla)                                             INVESTMENTS INC           District Court
    LAUFER, DEBORAH          1:201 9cvO0265           LAUFER v. AJ              Florida Northern          11/12t2019    0u18t2020
    (pla)                                             HOSPITALITY FWB           District Court
                                                      LLC

    LAUFER, DEBORAH          1:201 9cv00266           LAUFER v.                 Florida Northern          11t12t2019
    (pla)                                             BENNETT'S REEF            District Court
                                                      tNc
    LAUFER, DEBOMH           1:201 9cv00267           LAUFER v, RESORT          Florida Northern          1111212019    03110t2020
    (pla)                                             HOSPITALIry               District Court
                                                      ENTERPRISES LTD

    LAUFER, DEBORAH          1:201 9cv00268           LAUFER v. THE             Florida Northern          11t1212019
    (pla)                                             FLAGLER OF ST.            District Court
                                                      AUGUSTINE LLC, et
                                                      al
    LAUFER DEBORAH           1   :201   9cv00259      LAUFER v. GULF            Florida Northern          11t12t2019    02t20/2020
    (pla)                                             WALTON, INC.              District Court
    LAUFER, DEBOMH           1   :201 9cv00270        LAUFER v. RUDRAH          Florida Northern          11t12t2019    0u26t2020
    (pla)                                             LLC                       District Court
    LAUFER DEBOMH            1:2O19cvOO274            LAUFERv. CAPE SAN         Florida Northern          11t12t2019    12t10t2019
    (pla)                                             BLAS BED AND              District Court
                                                      BREAKFAST LLC

    LAUFER, DEBORAH          1:201 9cv00275           LAUFERv. PTWLLC           Florida Northern          11t12t2019    04/08/2020
    (pla)                                                                       District Court
    LAUFER, DEBOMH           1:2019cv00276            LAUFER v.                 Florida Northern          't1t12t2019
    (pla)                                             BENNETT'S REEF            District Court
                                                      tNc
    LAUFER DEBORAH           1:2O19cv00277            LAUFERv. KRISHNA          Florida Northern          11t12/2019    01t07t2020
    (pla)                                             VENTURES OF               District Court
                                                      PANAMACIW
                                                      BEACH, LLC

    LAUFER DEBORAH           1   :201 9cv00278        LAUFER v. SHIVA           Florida Northern          11/13t2019    o3t18/2020
    (pla)                                             HOTEI- INC et al          District Court
    LAUFER DEBORAH           1:2O19cvOO279            LAUFER v. ASHTON.         Florida Northern          11t13t2019    03t25t2020
    (pla)                                             LLP                       District Court



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                       Case 3:20-cv-00448-VAB Document 22 Filed 07/07/20 Page 16 of 16
    Party Name                 Gase Number                Case Title                    Court                Date Filed   Date Glosed
    LAUFER, DEBORAH            1:201 9cv00280             LAUFERv. RELAX                Florida Northern     11t13t2019   02t05t2020
    (pla)                                                 HOSPITALITY LLC               District Court
    LAUFER, DEBORAH            1:201 9cv00281             LAUFERv. P&R                  Florida Northern     1111312019   05t31t2020
    (pla)                                                 HOSPITALITY LLC               District Court
    LAUFER DEBORAH             1   :201 9cv00282          LAUFERv.J&KSAI                Florida Northern     11t13t2019   04/01t2020
    (pla)                                                 HOSPITALIry LLC               District Court

    LAUFER, DEBORAH            1:201 9cv00283             LAUFER v. BAY                 Florida Northern     11t13t2019   04t23t2020
    (pla)                                                 BEACH HOTEL LLC               District Court
    LAUFER DEBORAH             5:201 9cv00475             LAUFERv. PANAMA               Florida Northern     11t12/2019   03t05t2020
    (pla)                                                 CIW BEACH HOTEL               District Court
                                                          LLC

    LAUFER, DEBORAH            1:201 9cv00287             LAUFER v. GLUB                Florida Northern     11119t2019
    (pla)                                                 DESTIN                        District Court
                                                          CONDOMINIUM
                                                          ASSOCIATION INC


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